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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 KOCH MINERALS SÀRL
 Chemin Des Primeveres 45
 Fribourg, 1700
 Switzerland

 KOCH NITROGEN INTERNATIONAL SÀRL                          Civil Action No: 17-cv-02559-KBJ
 Chemin de Primeveres 45
 Case Postale 592
 Fribourg, 1701
 Switzerland,

                Plaintiffs,

                   v.

 BOLIVARIAN REPUBLIC OF VENEZUELA;
 Ministerio del Poder Popular para Relaciones
 Exteriores
 Oficina de Relaciones Consulares
 Avenida Urdaneta
 Esquina Carmelitas a Puente Llaguno
 Piso 1 del Edificio Anexo a la Torre MRE
 Caracas, 1010
 República Bolivariana de Venezuela,

                Defendant.


                THIRD REPORT ON STATUS OF SERVICE OF PROCESS

       In compliance with the Court’s Minute Order of October 24, 2018, Koch Minerals Sàrl

(“KOMSA”) and Koch Nitrogen International Sàrl (“KNI”) (collectively “the Koch Plaintiffs”)

respectfully submit this third report to the Court concerning the status of service of process on

the Bolivarian Republic of Venezuela (“Venezuela” or the “Defendant”) in their action to

enforce an international arbitral award (“the Award”) rendered against Venezuela pursuant to the

Convention on the Settlement of Investment Disputes between States and Nationals of Other

States, March 18 1965, 17 U.S.T. 1270 (the “ICSID Convention”):


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       1.      As previously reported to the Court (ECF # 18), Venezuela has now twice been

successfully served pursuant to the Hague Convention on the Service Abroad of Judicial and

Extrajudicial Documents in Civil or Commercial Matters (1965) (“Hague Service Convention”).

       2.      Specifically, Venezuela’s Ministry of the Popular Power for External Relations

(Ministerio del Poder Popular para Relaciones Exteriores) (the “Foreign Ministry”) accepted

service of the original Complaint in this action, together with supporting documents, on January

25, 2018. ECF # 18, Ex. 2. The Foreign Ministry then accepted service of the Koch Plaintiffs’

Amended Complaint, together with supporting documents, on June 13, 2018. ECF # 18, Ex. 5.

       3.      The delivery to and acceptance by the Foreign Ministry completed service

because Venezuela was itself the party to be served. ECF # 18, ¶ 2; ECF # 19, ¶ 3. See also

Scheck v. Republic of Argentina, No. 10 Civ.5167, 2011 WL 2118795, *4 (S.D.N.Y. May 23,

2011) (holding that the service of process was proper because plaintiffs transmitted documents

“more than nine months ago, and no certificate of any kind has been received even though

plaintiffs made every reasonable effort to obtain it by contacting the Ministry in Argentina.”)

(emphasis added).

       4.      As of the filing of this third status report, Venezuela is now nine months into

default.

       5.      Enforcement of the underlying Award has been provisionally stayed. Pursuant to

Article 52(5) of the ICSID Convention, Venezuela’s August 17, 2018 application to annul the

Award automatically triggered a provisional stay of enforcement of the Award. ECF # 18. An

ad hoc committee appointed by the Secretary-General of ICSID to consider Venezuela’s

challenge to the Award pursuant to Article 52 of the ICSID Convention is still weighing the

parties’ submissions as to whether it should lift or continue that stay. Id. The Koch Plaintiffs



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are considering their options in light of the ad hoc committee’s delayed decision on the lifting of

the stay.

        6.      The Koch Plaintiffs will submit a further report to the Court within 60 days as

required by the Court’s Minute Order of October 24, 2018 or promptly upon any change in the

status of the provisional stay.

 Dated: March 15, 2019                               Respectfully submitted,
 New York, New York


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                                                     Nitrogen International Sàrl




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